IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE

 

 

 

NASHVILLE DIVISION
Timothy Charles Holmseth
Plaintiff,
Case No: 3:22-cv-00912
vs.
SPECIAL REQUEST FOR SERVICE
Levi Henry Page BY U.S. MARSHALS
Alexandria Goddard
Defendants,

 

 

Plaintiff requests an order from the Court directing U.S. Marshals to serve the Summons and Complaint
in this case.

The reasons Plaintiff is making this request is based upon (1) conflict of interest, and (2) safety of
process servers.

ALEXANDRIA GODDARD IS HOMICIDAL AND CAPABLE OF FIRST DEGREE MURDER

1. Defendant Alexandria Goddard exhibits homicidal behavior and a thought process that indicates
Goddard’s capability to commit premeditated murder.

2. Goddard diabolically attempted to fure a woman (Randi Lynn Erickson) to her home and
property under the guise of a journalistic interview. Goddard repeatedly tried to convince
Erickson to come to her property for a journalistic “interview”. SEE ATTACHED EXHIBITS

3. When Erickson made it clear she was not coming to Goddard’s property, Goddard then made at
least 17 references to shooting Erickson if she (Erickson) ever comes to her property. SEE
ATTACHED EXHIBITS

4, Goddard stated during an interview on From The Desk of Murtwitnessonelive with news
reporter William K. Murtaugh, Apopka, Florida, that at the time she was inviting Erickson to her
home, she had a firearm on the table that was loaded with “cop killers”. That video can be
viewed online in a video entitled "|! HAD A 9MM ON MY TABLE, LOADED, WITH COP KILLERS"
OHIO RAPIST ACCIDENTLY CONFESSES TO MURDER PLOT
www. bitchute.com/video/TyvGRGUXnDPa/

5. Goddard has publicly boasted that she conspired with police in Ohio to kidnap, handcuff to a
bed, and sexually torture a man with “hot sauce” before releasing him “crying” and naked into
the Ohio winter. Evidence shows Goddard has committed horrific acts of violence and would not

hesitate to do it again.

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Goddard has joined Levi Page online and giggled about torturing little children in her basement
to raise their adrenochrome levels. Nobody in their right mind would admit to engaging in such
behavior and then laugh about it during a published program.

The following are a few examples from Goddard’s text messages to Erickson.

“VIlsend you home in a body bag”
“head shot”

“| will take the top of your head off”
“| will shoot you”

“1 will blow you into the ozone”

“| will blow your head off’

“blow your brains out”

“blow your fucking brains out”

Goddard also threatened Erickson’s life when Erickson said she planned to travel to the
“courthouse” in Belmont County, Ohio. “I have a surprise for you when you get there,” Goddard
said. Goddard’s threat demonstrates she feels safe engaging in her behavior at a courthouse
where there is law enforcement.

CONFLICT OF INTEREST
This is a civil racketeering action and includes extensive details and information regarding law

enforcement and police.

10. The Complaint details racketeering activities of law enforcement in Belmont County, Ohio
where Goddard resides. Because of the fact that law enforcement is involved in the details set
forth in the Complaint, it would be a conflict of interest to utilize local law enforcement in
Belmont County to serve documents.

11. The Complaint does not include any negative information regarding the U.S. Marshals.

LEVI PAGE HAS MADE DEATH THREATS

12. Defendant Page has made very serious threats against Randi Erickson. Page’s threats go beyond

rhetorical hyperbole.

13. “Slut Randi is going to get shot if she keeps stalking people and trespassing. Especially when she
is inthe DIRTY SOUTH,” Page said. SEE ATTACHED EXHIBIT

14. As recent as Saturday November 12, 2022, Page was online in the chat room of From The Desk
of Murtwitnessonelive making repeated threats regarding Randi Erickson coming onto his

property.

15. Page made the following statements on November 12, 2022: SEE ATTACHED EXHIBIT

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e “My German Shepherds will rip Randi to shreds if she ever steps onto the property”.

e “Murt, it isn’t a threat. It is a PROMISE. My German Shepherds will rip that psycho slut to shreds
if she trespasses. They don’t tolerate stalkers”.

e “It’s a PROMISE. My German Shepherds will rip SLUT Randi Erickson to shreds if she trespasses”.

e That SLUT will regret it.

16. Pages threats appear to be the product of someone with abnormal psychology because he is a
grown man who resides in Tennessee, while, Randi Erickson lives several States away in
Minnesota. Erickson is a sixty-two year-old grandmother, former elected official and Truth and
Taxation judge, who holds multiple licenses, with no criminal history, who passes regular FBI
background checks. Pages mental imagery is extremely violent. Page also appears to speak and
live vicariously through his German Shepherd dogs. An argument could easily be made that Page
is using his dogs to describe what he, himself, wants to do to someone.

17. Enclosed is a screenshot from a Telegram account someone set up using my name. An
anonymous person posted a photo of a man having his throat slit.

| am requesting the Court issue an Order directing U.S. Marshals to serve the documents in this case.
Plaintiff agrees to pay the fees.
Very respectfully submitted,

Timothy Charles Holmseth

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Live chat 9¢ ot
Top chat «18

all is going well for you all!!
It's great that you stopped in
tonight! Miss seeing ya here!
& firemanjohn628
#ShotOnSight
GO Levi Page ~. Slut Randi
is going to get shot if she
keeps stalking people and
trespassing. Especially when
she is in the DIRTY SOUTH.

 

x

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PRESS ACCESS

 

 

 

 

MURTWITNESSONE

ENV ETI
FROOU

Some Twitter users are fleeing to rival Mastodon in the
wake of Elon Musk's acquisition.

SATURDAY MURTATHON

 

FROM THE DESK OF MURTWITNESSO... ss as on 2» Share =k Save

 

 

Top chat v

™ voice back... We want to have Kim on the show
tooll!

GE ofa “\ My German Shepherds will rip Randi
to shreds if she ever steps onto the property.

G ‘.y2°s Murt, itisn't a threat. Itis a

PROMISE. My German Shepherds will rip that
psycho slut to shreds if she trespasses. They dan't
tolerate stalkers.

 

Plott... Stand your ground.
You would think they would be aware of that. Js

oh Blades of Paula C @Levi the fact that Randi
showed up at you aunts house right before she
threatened to show up at Alexandria’s house shows
how unstable she {s

f via Page, Its a PROMISE, My German
Shepherds will rp SLUT Randi Erickson to shreds if
she trespasses.

G bere oy. That SLUT will regret it.
&

hicnuda, Yeah. Showing up at
ppl’s homes is crazy.

 

Lee

 

ried

 

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Hide chat

 

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194

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Case 3

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760) 779-2539

[22 Pa
WA

 
 

Bring it. Thought you were going to be
here already. cn

 

196

 
   

- meeeeeeeeeeeeceeeeceeceeeeeeeee =v
eeeeeeow

   

~~ AN oN Cr)
 

you said you were coming and the
only one not here is YOU. -

  

 

 
 

 

 

 

 

an do better than that, Randall.

‘11 of 52 PagelD #: 199

 
 

 

 
 

 

 
 

You are the one who left her family for.
a kid diddler.

 

 

 

 

 

 

 
 

 

 
JES us doesn't exist yo u COW

   
  

 

~ come over here, Randall. = 3

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Tages

| you are terrifiedofme ... «

 

 
 

 

 

 

 

 

 
Neuer ae

al

 

 
the judge tossed your case, you crazy
bitch

it's DISMISSED | |

 

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: the judge tossed your case, you crazy
bitch

       
  
 

 

it's DISMISSED © —

 

i'm calling your daughter in a few /

ch Ae

Unsecured SM

Case 3:22-cv-00912 Document5 Filed 11/17/22

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Entre h ee Keer oes
re Mow

ficbess
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and | tell you to shove it up your
gaping ass

  

 

 

 

() Linea Document 5 Filed 11/17/22 (A\~ OF Pavel
9") Pineactired SMS C) VU) :

 

 
 

     

offered and you said never. -

  

    

    

 

  

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lly? LMAO”

 

 

 

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what street? Monroe? you're 20 years a
~ behind the times stinky vaj_ on i

 

_make sure you look for the posters of =
your face with PEDOPHILE on them all
over town.

you like that? ss V

 
 

 
 

MY
u

Gear [ete (e WT erates

@uileecuutintre

RSet Cn

I'm the baby elephant - you're the

whole ass elephant. 2:13 pm

no, You have no lawsuit. It got
dismissed.

IMO YOU are a pedophile.

 

you Said you'd be here in two hours.

 

lastnight --. .-

 

  
  

come to my neighborhood and find

& Unsecured SMS Q,

Case 3:22-cv-00912 Document5 Filed 11/17/22 Page 26 of 52 Pa

 

 

 
 

 
  

  

jave no clue where | live. LOL

   
 
  

     
  
   

curec '

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- bahahahahahah

go for it. |

 

 

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iad
inal

 
 

where am |, granny? I'm the queen of |

that you may be a pedo? -.;

 

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a psychotic grandma

 
 
  

   

where am I, granny? I'm the queen

Wiel of
hide and seek. |

 

 

|
moet Case 3:22-cv-00912 Document5 Filed 11/17/22 Page 30 of 52 PagelID#: 218

  

 
 

and you fantasize and publish child
porn fantasy?

 

does tim make you dress like a 5 year
old? -

    

 
 

_and armed and dangerous?

 

- does tim make you d
old?

 

 
    

you have no pen, you can barely form

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you want to be a journalist and
publisher - interview me. Pussy |

 

 

no, actually I'm not or | wouldn't be

inviting you to meet. oP yes

  

 

 

© Unsecured SMS Y

“Case 3:22-cv-00912 Document5 Filed 11/17/22 Page 34 of 52 PagelD #: 22

 

 
 

     
 
 

_ If you come in my personal space,
Randall | will use lethal force © 55 pin a

; ee pe lela ley a

 

112 Document 5 Filed 11/17/22 Page 35 ee 5
naan. mm 67

 
 

locked and loaded here =.

|
!
i
ii
i

age 36
Ww

 

 
 

do it. 9:57 pm ef

2nd amendment

If you come on my property, I'll send
you home in a body bag

 

 

 
 
   

   

head shot a1 »:

   

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a Lo oN M.

_Case-3:22-cv-00912 Docum 22

  

 

 

 

 
_ if you come on my property or near
~ me, | will consider you an imminent

th reat

 

 

 
: You've been warned. Act accordingly ©

+ 3:22-cv-00912 Document 5. Filed 11/17/22 Page 39 of 52 PagelD #: 227
roatectina mvself fram an insane

 

 
S I'm protecting myself from an insane
person

step foot near me on my property and
| will shoot you

~second amendment

_ [have the right to protect myself

 

 
   

  

| will blow you into the ozone if | feel
threatned on my property ss oe

     
   

 

— that's stalking. you should read the
statute.

 

= §6|'ll be filing an RO against you in Elk a
Vv

River on Monday

 

on™ Se oN C)

 

 
 

River on Monday

what's that/ 6...

If you come on my property | will
engage lethal force

 

 
 

 

 

 

ERE

 

twill blow your head off if you come

on my property Onn ne

  

    
  
 
  

and my family will do the same

 
 
 
 
 

 

they will blow your brains out where _ S S
you stand if you threaten them - a

 
 

ae,

 
They will blow your rains out if you
come on their property

no one wants to hear from a fish
smelling cunt

       

f 233

 

:

 

 
They will blow your rains out if you
~ come on their property

no one wants to hear from a fish
smelling cunt

 

  
 

of 52. 234

 

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i

 

 
 

 

have no cue where |

 

 

 
 

You arent anywhere near here
because you are scared af

If you come to my home, I'll blow your
fucking brains out.

  
 
   

 

 

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and again, if you come on my property
and near me | will use lethal force

Castle doctrine

Go down there. | have a surprise for
you when you get there

 

 
 

 

You do realize you've already violated
ORC?

please learn to spell you uneducated
fuck oe

  

 
 

 

 

 

 
 

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